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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA

v.                                                    Criminal Action No. 3:21MJ138-2

DIANA TOEBBE,

       Defendant.

             ORDER APPOINTING CJA PANEL ATTORNEY AS COUNSEL

       Defendant submitted a CJA-23 form and, upon review thereof, is found to be indigent and

entitled to the appointment of counsel pursuant to the provisions of 18 U.S.C. §3006A(a).

       Accordingly, pursuant to the provisions of 18 U.S.C. §3006A(b) and the Criminal Justice Act

Plan for the Northern District of West Virginia as adopted by Order dated October 31, 2017, Edward B.

MacMahon, Jr. of P.O. Box 25, Middleburg, VA, 20118, Telephone No. (540)687-3902, is hereby

appointed to represent the defendant in this action from the date of the entry of this order to

conclusion as defined under 18 U.S.C.§ 3006A(c).

       The Clerk is directed to forward a copy of this Order to the defendant, the Office of the

Federal Public Defender, CJA panel counsel herein appointed to represent defendant, United States

Attorney, United States Probation, and the United States Marshal’s Office.

       It is so ORDERED.

       Dated: 10-13-2021
